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                  Exhibit A
                                                                                       Case 1:21-md-03010-PKC Document 345-1 Filed 10/20/22 Page 2 of 10




Subject:                                                                                                                                              FW: Newspaper Plaintiffs' Amended Complaint



From: Kevin Orsini <Korsini@cravath.com>
Sent: Tuesday, October 18, 2022 8:47 PM
To: Steve Jodlowski <SJodlowski@rgrdlaw.com>
Cc: Martha Reiser <mreiser@cravath.com>; Brittany Sukiennik <bsukiennik@cravath.com>; Andrew Huynh
<ahuynh@cravath.com>; Stuart Davidson <sdavidson@rgrdlaw.com>; Serina Vash <svash@hermanjones.com>
Subject: Re: Newspaper Plaintiffs' Amended Complaint


Steve,

With respect, there still is significant ambiguity as to what Facebook information you do and do not have and how you
got access to any information that you do have.

I now understand that the Facebook‐designated confidential document you reference in your motion to seal is a copy of
the GNBA.

But that still leaves the question of how you were able to describe “internal Facebook documents” in your proposed
amended complaint. Are you saying that even though you make allegations about the content of some supposed
internal Facebook documents, you do not actually have—and have not actually had—copies of, or access to, internal
Facebook documents? If that is the case, how did you come to learn what was or was not said in internal company
communications?

Kevin

Sent from my iPad


         On Oct 18, 2022, at 6:05 PM, Steve Jodlowski <SJodlowski@rgrdlaw.com> wrote:

         Kevin – And we’ll tell you for the (now) third time: without waiving any privileges, our information is based upon our investigation, our work product, information available from the Google document p




                                                   External (sjodlowski@rgrdlaw.com)
                                                                                                                                                                                                                        Report This Email FAQ

         Kevin –

         And we’ll tell you for the (now) third time: without waiving any privileges, our information is based upon
         our investigation, our work product, information available from the Google document production, as
         well as information available and in the public domain.

         We don’t appreciate you continuing to represent that we have “refused” to answer your questions,
         when we have done nothing of the sort. You asked us to identify the sources of our information, which
         we did. You asked if we had Facebook’s confidential documents, and we told you we did not. Then you
         asked about our reference to “internal Facebook documents,” which we explained. All of your demands
         were under the pretense of needing to know what was redacted, even though you have had access to

                                                                                                                                                                                                                    1
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the unredacted version of the complaint (with the relevant allegations highlighted) since our filing two
weeks ago. We have been exceedingly patient with your demands.

We submitted the complaint temporarily under seal as a courtesy to your client to give it the
opportunity to move to keep the allegations under seal if it believes the redacted information is
competitively sensitive, and nothing is preventing Facebook from doing that. To the extent you believe
the conduct here warrants bringing something to the Court’s attention, we reserve all rights to do the
same.

Regards,
Steve



From: Kevin Orsini <Korsini@cravath.com>
Sent: Tuesday, October 18, 2022 9:52 AM
To: Steve Jodlowski <SJodlowski@rgrdlaw.com>
Cc: Martha Reiser <mreiser@cravath.com>; Brittany Sukiennik <bsukiennik@cravath.com>; Andrew
Huynh <ahuynh@cravath.com>; Stuart Davidson <sdavidson@rgrdlaw.com>; Serina Vash
<svash@hermanjones.com>
Subject: RE: Newspaper Plaintiffs' Amended Complaint

EXTERNAL SENDER
I see, thank you.

And I will ask one final time: in paragraphs 314 and 315, you reference “internal Facebook
documents”. What are those documents and where did you get them?

If you continue to refuse to tell us what documents you are purportedly summarizing and where you got
them from, we will raise this issue with the Court.


Kevin




From: Steve Jodlowski <SJodlowski@rgrdlaw.com>
Sent: Tuesday, October 18, 2022 12:25 PM
To: Kevin Orsini <Korsini@cravath.com>
Cc: Martha Reiser <mreiser@cravath.com>; Brittany Sukiennik <bsukiennik@cravath.com>; Andrew
Huynh <ahuynh@cravath.com>; Stuart Davidson <sdavidson@rgrdlaw.com>; Serina Vash
<svash@hermanjones.com>
Subject: RE: Newspaper Plaintiffs' Amended Complaint


Kevin ‐

The basis for that statement is the confidentiality stamp that appears to have been applied by Facebook
to the network bidding agreement contained within Google’s document production.

Regards,
Steve

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From: Kevin Orsini <Korsini@cravath.com>
Sent: Tuesday, October 18, 2022 5:08 AM
To: Steve Jodlowski <SJodlowski@rgrdlaw.com>
Cc: Martha Reiser <mreiser@cravath.com>; Brittany Sukiennik <bsukiennik@cravath.com>; Andrew
Huynh <ahuynh@cravath.com>; Stuart Davidson <sdavidson@rgrdlaw.com>; Serina Vash
<svash@hermanjones.com>
Subject: Re: Newspaper Plaintiffs' Amended Complaint

EXTERNAL SENDER
Steve:

What is the factual basis for the underlined portion of this representation you made to the Court:


                 “Plaintiffs have filed a public version of the Complaint with very limited
                 redactions for allegations drawn from internal documents designated as
                 confidential by Facebook”.


When and in what context did Facebook designate the internal documents confidential? Are you
refusing to provide that information to us?

Kevin



        On Oct 17, 2022, at 5:38 PM, Steve Jodlowski <SJodlowski@rgrdlaw.com> wrote:


        Kevin:

        We understand that Facebook has access to the fully unredacted complaint through the
        ECF link to our letter filing with the Court (ECF No. 329). The redacted information has
        been highlighted and can be found in paragraphs 314 and 315. If you cannot see what
        has been redacted, please let us know.

        Regarding your request for the source(s) of the information, we have already identified
        them and explained that we do not have confidential documents produced by
        Facebook.

        Regards,
        Steve



        From: Kevin Orsini <Korsini@cravath.com>
        Sent: Monday, October 17, 2022 8:13 AM
        To: Kevin Orsini <Korsini@cravath.com>
        Cc: Steve Jodlowski <SJodlowski@rgrdlaw.com>; Martha Reiser
        <mreiser@cravath.com>; Brittany Sukiennik <bsukiennik@cravath.com>; Andrew Huynh
        <ahuynh@cravath.com>; Stuart Davidson <sdavidson@rgrdlaw.com>; Serina Vash


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<svash@hermanjones.com>
Subject: Re: Newspaper Plaintiffs' Amended Complaint

EXTERNAL SENDER

Steve,

We need to know what has been redacted and where you got it from immediately. Our
deadline to file something with the Court is Wednesday.

Kevin

         On Oct 14, 2022, at 7:32 PM, Kevin Orsini <KOrsini@cravath.com>
         wrote:


         Steve,

         Thank you for your response. We remain confused.

         Your motion to seal states the following:


         “Plaintiffs have filed a public version of the Complaint with very limited
         redactions for allegations drawn from internal documents designated as
         confidential by Facebook”.



         If, in fact, these are documents designated confidential by Facebook,
         please tell us which documents they are, what the redacted passages
         are, when and how you understand that Facebook designated the
         documents as confidential and how Plaintiffs have access to documents
         that Facebook designated confidential.



         We need to assess whether to file a motion to keep the material sealed,
         and we can’t do so without knowing what the redacted material is.




         Kevin




                  On Oct 14, 2022, at 5:49 PM, Steve Jodlowski
                  <SJodlowski@rgrdlaw.com> wrote:



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            Martha:

            Without waiving any privileges, our information is based
            upon our investigation, our work product, information
            available from the Google document production, as well
            as information available and in the public
            domain. Contrary to your implication, we never said in
            our letter to the Court that we had access to
            confidential documents produced by Facebook.

            Best,
            Steve




                    On Oct 14, 2022, at 4:14 AM, Martha
                    Reiser <mreiser@cravath.com> wrote:

                    EXTERNAL SENDER
                    Steve,

                    I am following up on the message
                    below. We need a response today.

                    Thank you,
                    Martha

                    Martha Reiser
                    Cravath, Swaine & Moore LLP
                    825 Eighth Avenue
                    New York, NY 10019
                    212‐474‐1154
                    mreiser@cravath.com

                    On Oct 13, 2022, at 2:33 AM, Martha
                    Reiser <mreiser@cravath.com> wrote:


                    Steve,

                    Thank you for your response. The
                    sealed portion of your complaint
                    references internal Facebook
                    documents, including internal
                    communications involving “Facebook’s
                    highest executives”. If these
                    communications are not from
                    documents produced by Facebook,
                    please clarify what these documents
                    are and who provided them to you.

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                  Given the upcoming deadline for Meta
                  to respond to your motion to seal, we
                  would appreciate a prompt response.

                  Martha

                  Martha Reiser
                  Cravath, Swaine & Moore LLP
                  825 Eighth Avenue
                  New York, NY 10019
                  212‐474‐1154
                  mreiser@cravath.com

                  From: Steve Jodlowski
                  <SJodlowski@rgrdlaw.com>
                  Sent: Tuesday, October 11, 2022 11:47
                  AM
                  To: Kevin Orsini
                  <Korsini@cravath.com>; Martha Reiser
                  <mreiser@cravath.com>
                  Cc: Brittany Sukiennik
                  <bsukiennik@cravath.com>; Andrew
                  Huynh <ahuynh@cravath.com>; Stuart
                  Davidson <sdavidson@rgrdlaw.com>;
                  Serina Vash
                  <svash@hermanjones.com>
                  Subject: RE: Newspaper Plaintiffs'
                  Amended Complaint


                  Martha and Kevin: Thank you for your
                  note. Apologies for the inartful
                  language in our letter. We do not have,
                  nor have we ever had, any of
                  Facebook’s confidential documents.

                  Best,
                  Steve

                  From: Kevin Orsini
                  <Korsini@cravath.com>
                  Sent: Tuesday, October 11, 2022 8:34
                  AM
                  To: Martha Reiser
                  <mreiser@cravath.com>; Stuart
                  Davidson <sdavidson@rgrdlaw.com>;
                  Steve Jodlowski
                  <SJodlowski@rgrdlaw.com>; Serina
                  Vash <svash@hermanjones.com>
                  Cc: Brittany Sukiennik
                  <bsukiennik@cravath.com>; Andrew
                  Huynh <ahuynh@cravath.com>
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                  Subject: RE: Newspaper Plaintiffs'
                  Amended Complaint

                  EXTERNAL SENDER
                  Counsel,

                  Please provide a response to the below
                  as soon as possible.

                  Kevin

                  From: Martha Reiser
                  <mreiser@cravath.com>
                  Sent: Friday, October 7, 2022 7:07 PM
                  To: sdavidson
                  <sdavidson@rgrdlaw.com>; Steve
                  Jodlowski <SJodlowski@rgrdlaw.com>;
                  Serina Vash
                  <svash@hermanjones.com>
                  Cc: Kevin Orsini
                  <Korsini@cravath.com>; Brittany
                  Sukiennik <bsukiennik@cravath.com>;
                  Andrew Huynh <ahuynh@cravath.com>
                  Subject: Newspaper Plaintiffs'
                  Amended Complaint

                  Counsel,

                  In reviewing your amended complaint,
                  we see that you included information
                  that you say in your motion to seal is
                  from documents that were designated
                  confidential by our client. Meta has
                  produced no documents to the private
                  plaintiffs in the MDL. Indeed, at the
                  first conference in the MDL, Judge
                  Castel ordered that only Google must
                  reproduce documents it had produced
                  in related litigation and investigations,
                  not Meta.

                  Please explain immediately where you
                  got access to the confidential
                  documents referenced in your
                  amended complaint, from whom you
                  received access, and on what basis you
                  received access.

                  In the meantime, we strongly object to
                  you taking any action that would result
                  in the confidential material you cited
                  being filed on the public docket.
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                              Thank you,
                              Martha

                              Martha Reiser
                              Cravath, Swaine & Moore LLP
                              825 Eighth Avenue
                              New York, NY 10019
                              212‐474‐1154
                              mreiser@cravath.com


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